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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       October 13, 2023
                     UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

TERRY PETTEWAY, et al.,                 §
                                        §
       Plaintiffs,                      §
                                        §
VS.                                     §             3:22-CV-57
                                        §
GALVESTON COUNTY, TEXAS,                §
et al.,                                 §
                                        §
       Defendants.                      §

                                   ORDER

       In its findings of fact and conclusions of law issued today, the court

held that the 2021 commissioners-court precinct map adopted by the

Galveston County Commissioners Court on November 12, 2021, violates § 2

of the Voting Rights Act. Dkt. 250. The enacted map denies Black and Latino

voters the equal opportunity to participate in the political process and the

opportunity to elect a representative of their choice to the commissioners

court. Accordingly, the court permanently enjoins the defendants from

administering, enforcing, preparing for, or in any way permitting the

nomination or election of county commissioners from the commissioners-

court precinct map as currently configured. The plaintiffs are the prevailing

parties and judgment is hereby entered in their favor.




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      Having failed to comply with § 2 of the Voting Rights Act, the

commissioners court must adopt another plan in time for the 2024 election,

which means before November 11, 2023—the statutory opening date for

candidate filing. So the court orders the following remedial proceedings:

      1. By October 20, 2023, the defendants shall file with the
         court a revised redistricting plan with sufficient supporting
         expert analysis establishing that it complies with § 2 of the
         Voting Rights Act. Along with these materials, the defendants
         may include a memorandum of law of no more than 10 pages.

      2. By October 27, 2023, the plaintiffs may file objections to the
         defendants’ revised plan and, if desired, proposed alternative
         plans with supporting expert analysis. The plaintiffs’
         consolidated objections shall be no more than 10 pages.
      3. The court will conduct an in-person remedial hearing on
         November 1, 2023, at 2 p.m. to decide which redistricting
         plan will be ordered into effect.
      4. If the defendants fail or prefer not to submit a revised plan,
         they are ordered to implement the illustrative plan presented
         by Anthony Fairfax on August 10, 2023 (PX-339), on or before
         November 1, 2023, and use that plan for all future elections
         until the commissioners court adopts a different plan.
      The court refrains from deciding attorneys’ fees until the plaintiffs seek

such relief under Fed. R. Civ. P. 54(d).

      Signed on Galveston Island this 13th day of October, 2023.




                                       __________________________
                                       JEFFREY VINCENT BROWN
                                       UNITED STATES DISTRICT JUDGE


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